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                                               Exhibit "1                 II
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                                                                                     CONFORMED COPY
                                                                                        ORIGINAL FILED
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               RAYTHEON COMPANY
         12

         13

         14                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

         15                                   FOR THE COUNTY OF LOS ANGELES

         16
                                                                                        BC538915
         17    RA YTHEON COMPANY, a Delaware                  )   -.Case No.
               corporation,                                   )
         18                                                   )    COMPLAINT FOR:
                                       Plaintiff,             )
         19                                                   )    (1) BREACH OF CONTRACTI
                      v.                                      )        WARRANTY;
         20                                                   )    (2) NEGLIGENCE; AND
               XCEL MECHANICAL SYSTEMS, INC., a               )    (3) DECLARATORY RELIEF
         21    California corporation; HELI-FLITE, INC., a )
               California corporation, doing business as ARIS )
         22    HELICOPTERS; and DOES 1-50, inclusive,         )    DEMAND FOR JURY TRIAL
                                                              )
         23                           Defendants.             )
                                                              )
         '24                                                  )
                                                              )
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               ------------------------------)
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                Plaintiff Raytheon Company ("Raytheon" or "Plaintiff'), for its complaint herein, alleges as

 2      follows:

 3                                                    Nature of the Case

 4              1.   On March 13, 2011, a helicopter crashed, caught fire and extensively damaged

 5      Raytheon's El Segundo, California two-story facility ("Building E 1"). The crash occurred while the

 6      helicopter was attempting to remove and replace an industrial air conditioning unit from Building

 7      E1's roof.

 8              2.   Raytheon had hired Defendant Xcel Mechanical Systems, Inc. ("Xcel") to remove

 9      existing air conditioning units and replace them with new units, using a helicopter to lift the units

10      off the building. Xcel had subcontracted with Defendant Heli-Flite, Inc. ("Heli-Flite"), doing

11      business as Aris Helicopters ("Aris"), to provide the helicopter and a qualified pilot to conduct the

12      lift.

13              3.   During the lift, the pilot lost control of the helicopter, crashed heavily onto the

14      Building El roof, and toppled down the side to the ground below. The helicopter's fuel spilled onto

15      its mechanical parts and caught fire. The fire spread to the first and second floors of Building E 1.

16      The helicopter pilot was severely injured and rescued from the wreckage by the ground crew. The

17      fire consumed the helicopterbody. The El Segundo Fire Department took 40 minutes to suppre_ss
                                  -~   - .-.--

18      the fire. Building E l' s exterior, interior and contents were damaged by the fire, smoke and water

19      from Building E 1's fire suppression system and the Fire Department's fire suppression efforts.

20              4.   Upon information and belief and the facts alleged more fully below, Xcel breached its

21      contract with Raytheon, and Xcel's and Heli-FlitelAris's respective negligence proximately caused

22      the fire-, smoke- and water-damage to. Raytheon's real and personal property.

23                                                       The Parties

14              5.   Plaintiff Raytheon is now, and at all times mentioned herein has been, a corporation,

25      duly organized and existing under the laws of the state of Delaware, with its principal office and

26      place of business in Waltham, Massachusetts. Raytheon is authorized to do, and is doing, business

27      in El Segundo, California. Founded in 1922, Raytheon is a public company listed on the New York

28      Stock Exchange and engages in the design, development, manufacture, integration, and support of
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         technological products, services, and solutions for governmental and commercial customers in the

  2      United States and internationally.

  3              6.    Upon information and belief, Defendant Xcel is now, and at all times mentioned herein

  4      has been, a corporation, duly organized and existing under the laws of the state of California, with

  5      its principal place of business at 1710 West l30 th Street, Gardena, California, in Los Angeles

  6      County.

  7              7.        Upon information and belief, Defendant Heli-Flite (in its own capacity and doing

  8      business as Aris) is now, and at all times mentioned herein has been, a corporation, duly organized

 9       and existing under the laws of the state of California, with its principal place of business at 6871

10       Airport Drive, Riverside, California. Aris is not registered as a corporation or limited liability

11       company or partnership in California, but is now, and at all times mentioned herein has been,

12       operating as a business co-located with Heli-Flite's offices at 6871 Airport Drive, Riverside,

13       California.

14               8.        Raytheon is unaware of the true names and/or capacities of the Defendants named

15       herein as Does 1 through 50 and therefore sues said Defendants by such fictitious names. Raytheon

16       will amend this complaint to allege the true names and capacities of Does 1 through 50 as soon as

17       they are ascertained. Raytheon is informed and believe$ and ba,s~d thereon alleges that each

18       Defendant designated herein asa Doe is responsible in some manner for the events and happenings

19       described in this complaint, and caused injuries and damages proximately thereby to Raytheon as

20       herein alleged.

21                                                  Jurisdiction and Venue

22               9.        This Court has jurisdiction over this action because a substantial portion of the acts,

23       omissions, events, and transactions herein occurred within the State of California, County of Los

'24      Angeles, and Defendants' principal places of business are in the State of California. Venue is

25       proper because Los Angeles County is where Defendant Xcel resides and its liability arises and

26       Defendant Heli-Flite's liability arises.

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                                           Facts Giving Rise to This Action

 2              10.     On February 23, 2011, Raytheon issued a purchase order to Xcel which Xcel

 3       accepted for Xcel to remove the existing air conditioning units on Building E l's roof and replace

 4       them with new units by using a helicopter to lift the units (the "Purchase Order").

  5              11.   According to the terms of Raytheon's contract with Xcel, Xcel warranted the

  6      performance of its work and services as follows: "Seller further warrants that the performance of

  7      work and services shall conform with the requirements of this Purchase Order and to high

 8       professional standards." (Raytheon Company General Terms and Conditions of Purchase TC-OO 1

 9       ("TC-OOl"), Article 13(a).) Xcel also agreed that it would be liable for any loss, damage or expense

10       associated with the breach of this warranty: "Seller shall be liable for and save Buyer harmless from

11       any loss, damage, or expense whatsoever that Buyer may suffer from breach of any of these

12       warranties." (TC-OOl, Article 13(e).) In addition, Xcel agreed that it would be "responsible for the

13       actions and failure to act of all parties retained by, through, or under Seller in connection with the

14       performance ofth[e] Purchase Order." (TC-OOl, Article 20(b).)

15              12.     Xcel also agreed to indemnify Raytheon for any property loss or damage caused by

16       Xcel in the performance of the Purchase Order:

17              "Seller shall, without limitation, indemnify and save Buyer and its customer(s) and their

18              respective officers, directors, employees and agents harmless from and against (i) all claims

19              (including claims under Workers Compensation or Occupational Disease laws or other

20              equivalent laws in Seller's country) and resulting cost, expenses (including attorney fees and

21              costs) and liability which arise from personal injury, death, or property los.s or damage

22              attributed to, or caused by, the,goods supplied, or the services performed by Seller pursuant

23              to this Purchase Order, including, without limitation, latent defects in such goods and/or

'24             services, except to the extent that such injury, death, loss or damage is caused solely

25              indirectly by the negligence of Buyer, and (ii) all claims (including resulting costs, expenses   ~

26              and liability) by the employees of Seller or any of its subcontractors."

27       (TC-OOl, Article 21(b).) In addition, Xcel agreed to indemnify Raytheon from and against all

28       "losses, injuries, and damages of every nature (including incidental costs and expenses) caused by
                                                             "
                                                           - .J -

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             the negligent acts or omissions to act by the Seller, its officers, employees, agents, invitees or

      2      vendors, directly or indirectly arising out the performance of this purchase order or any negligent

      3      act or failure to act by subcontractors or suppliers of the Seller." (Raytheon Company Purchase

      4      Order Attachment SA-004, Article 3.)

      5              13.     Shortly after accepting Raytheon's purchase order, Xcel subcontracted with Heli-

      6      Flite, doing business as Aris, to provide the helicopter and qualified pilot to conduct the lift. The

      7      helicopter, a Sikorsky S-58ET bearing tail number N33602, was registered to Heli-Flite and

      8      operated by Aris.

      9              14.   As scheduled, Xcel and Heli-Flitel Aris began the air-lift of the air conditioning units

 10          on the morning of Sunday, March 13,2011. Xcel and Heli-Flite/Aris personnel were solely

 11          responsible for preparing the air conditioning unit for its lift, including hooking the slings

 12          supporting the air conditioning unit to the helicopter.

 13                  15.   During the lift, the Heli-Flite/Aris helicopter pilot lost control of the helicopter. The

 14          helicopter veered forward, crashed heavily onto the Building El roof, and toppled down the side to

 15          the ground below. Helicopter fuel spilled onto its mechanical parts and caught fire. The fire

 16          quickly spread up the side of and into the offices on the first and second floors of Building E 1.

. 17         Despite the intense flames,.-.-"Heli-Flite/Aris
                                              .
                                                             ground crew. rescued the helicopter pilot from the

 18          wreckage, and helped medevac him to a local hospital.

 19                  16.   The intense fire entirely consumed the helicopter body, leaving only the helicopter tail

 20          with visible markings. It took the EI Segundo Fire Department 40 minutes to suppress the fire on

 21          the exterior and interior of Building E 1.

22                   17.   As a result of the fire, smoke and water from Building E l' s fire suppression system

23           and the fire department's hoses, Building El 's exterior, interior and personal property contents were

'24          damaged.

 25                  18.   The National Transportation Safety Board ("NTSB") investigation determined there
 .-
26           were two probable causes of the accident. First, there was a partial loss of engine power. The

 27          Heli-Flitel Aris pilot reported that the engine went off line during the lift. Second, the helicopter's

28           external hook failed to release the loaded air conditioning unit. The NTSB was unable to determine
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        why the hook failed to release but, during the wreckage examination, the cargo hook was found in

 2      the closed position. The Heli -FlitelAris pilot reported that he had depressed the electrical cargo

 3      release switch a couple of times before the helicopter collided with Building E 1. He said that he did

 4      not try to use the manual cargo release because doing so would have required him to remove his

 5      feet from the helicopter's anti-torque pedals to activate a foot lever next to the pedals.

 6                                                FIRST CAUSE OF ACTION

 7                           (Breach of Written Contract/Warranty Against Defendant Xcel)

 8              19.     Raytheon refers to and incorporates by reference as though fully set forth herein the

 9      allegations of paragraphs 1 through 18.

10              20.     Raytheon has performed all of its obligations under the Purchase Order, except to the

11      extent any such obligation was excused by Xcel's breach of contract.

12              2l.     Xcel has materially breached the Purchase Order by, among other conduct, (i) failing

13      to perform the work and services required by the Purchase Order in a manner that "conform [ed]

14      with the requirements of th[ e] Purchase Order and to high professional standards," as Xcel

15      expressly warranted; (ii) failing to save Raytheon harmless from losses, damages, and expenses that

16      Raytheon has suffered due to Xcel's breach of that warranty and negligent acts and omissions; and

17      (iii) failing to accept responsibility for "the actions and failure to act of all parties retained by,

18      through, or under Seller
                            .
                                 in connection
                                          .
                                               with the performance of th[ e] Purchase Order."

19              22.     As a direct and proximate result of Xcel' s breach of contract, Raytheon was

20      damaged by incurring costs to repair, replace, and remediate the real and personal property damage

21      caused by Xcel' s acts and omissions, all in an amount to be proven at trial.

22                                              SECOND CAUSE OF ACTION

23                                     (Negligence Against Defendant Heli-Flite/Aris)
24              23.     Raytheon refers to and incorporates by reference as though fully set forth herein the

25      allegations of paragraphs 1 through 22.

26              24.     Heli-FlitelAris owed Raytheon a duty to exercise due care in providing the helicopter

27      and qualified pilot to conduct the removal of air conditioning units from Raytheon's facility,

28      Building El. Heli-Flite/Aris knew that it would be performing these services specifically for
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        Raytheon's benefit and that failing to exercise due care would likely cause damage to Raytheon

 2      property, business, and personnel.

 3             25.     Heli-Flite/Aris breached its duty to exercise due care by failing to provide a safe and

 4      properly functioning helicopter and a qualified pilot to conduct the airlift. Helicopter crashes of this

 5      kind ordinarily do not occur in the absence of negligence. The helicopter and pilot used in the airlift

 6      were within Heli-FlitelAris' exclusive control, and the crash was not due to any contributing act or

 7      omission by Plaintiff.

 8             26.     As a direct and proximate result of Heli-Flite/Aris's negligence, Raytheon was

 9      damaged by incurring costs to repair, replace, and remediate the real and personal property damage

10      caused by Heli-Flite/Aris's negligent acts and omissions, all in an amount to be proven at trial.

11                                               THIRD CAUSE OF ACTION
12                                     (Declaratory Relief Against Defendant Xcel)
13             27.     Raytheon refers to and incorporates by reference as though fully set forth herein the

14      allegations of paragraphs 1 through 26.

15             28.     An actual, present, and justiciable controversy has arisen and now exists between

16      Raytheon and Xcel with respect to whether Xcel must indemnify and save Raytheon harmless from

17      all loss or damage to Raytheon caused by the March 13, 2011 helicopter crash and resulting fire.

18             29.     A judicial resolution of this controversy regarding Xcel' s obligations to Raytheon is

19      necessary to determine who is liable for that loss and damage.

20             30.     Raytheon is entitled to a ju<;iicial declaration finally adjudicating and decreeing that

21      Xcel must indemnify and save Raytheon harmless from all loss or damage to Raytheon caused by

22      the March 13, 2011 helicopter crash and resulting fire.

23                                            PRAYER FOR RELIEF

24             WHEREFORE, Plaintiff Raytheon prays for judgment against Defendants as follows:

25             1.      Damages according to proof;

26             2.      Restitution according to proof;

27             3.      Declaratory relief; and

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                   4.      Interest at the maximum rate allowed by law, costs of suit incurred herein, and such

     2      other and further relief as the Court deems just and proper.

     3                                        DEMAND FOR JURY TRIAL

     4             Plaintiff Raytheon hereby demands a trial by jury on all issues triable to a jury.

     5
     6      Dated: March 11,2014.                             ARNOLD & PORTER LLP
                                                              JOHN D. LOMBARDO
     7                                                        MARK D. COLLEY
                                                              TIFFANY IKEDA
     8




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10                                                            By:
11                                                                  Attorneys for Plaintiff
                                                                    RA YTHEON COMPANY
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